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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                            November 2021 Grand Jury

11   UNITED STATES OF AMERICA,               CR    2:21-cr-00582-WU

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [21 U.S.C. §§ 841(a)(1),
                                             (b)(1)(A)(viii), (b)(1)(C):
14   SEAN WOFFORD,                           Possession with Intent to
       aka “dweb sean,”                      Distribute Controlled Substances;
15                                           18 U.S.C. § 924(c)(1)(A)(i):
               Defendant.                    Possession of Firearms in
16                                           Furtherance of a Drug Trafficking
                                             Crime; 21 U.S.C. § 853, 18 U.S.C.
17                                           § 924(d)(1), and 28 U.S.C.
                                             § 2461(c): Criminal Forfeiture]
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20        The Grand Jury charges:

21                                     COUNT ONE

22                  [21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii)]

23        On or about October 20, 2020, in Los Angeles County, within the

24   Central District of California, in a car, defendant SEAN WOFFORD,

25   also known as “dweb sean,” knowingly and intentionally possessed with

26   intent to distribute at least 50 grams, that is, approximately 281.1

27   grams, of methamphetamine, a Schedule II controlled substance.

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 1                                     COUNT TWO

 2                      [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]

 3        On or about October 20, 2020, in Los Angeles County, within the

 4   Central District of California, in a car, defendant SEAN WOFFORD,

 5   also known as “dweb sean,” knowingly and intentionally possessed with

 6   intent to distribute cocaine, a Schedule II narcotic drug controlled

 7   substance.

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 1                                    COUNT THREE

 2                  [21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii)]

 3        On or about October 20, 2020, in Los Angeles County, within the

 4   Central District of California, in a residence, defendant SEAN

 5   WOFFORD, also known as “dweb sean,” knowingly and intentionally

 6   possessed with intent to distribute at least 50 grams, that is,

 7   approximately 1.15 kilograms, of methamphetamine, a Schedule II

 8   controlled substance.

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 1                                    COUNT FOUR

 2                      [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]

 3        On or about October 20, 2020, in Los Angeles County, within the

 4   Central District of California, in a residence, defendant SEAN

 5   WOFFORD, also known as “dweb sean,” knowingly and intentionally

 6   possessed with intent to distribute cocaine, a Schedule II narcotic

 7   drug controlled substance.

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 1                                    COUNT FIVE

 2                      [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]

 3        On or about October 20, 2020, in Los Angeles County, within the

 4   Central District of California, in a residence, defendant SEAN

 5   WOFFORD, also known as “dweb sean,” knowingly and intentionally

 6   possessed with intent to distribute N-phenyl-N-[1-(2-phenylethyl)-4-

 7   piperidinyl] propanamide (“fentanyl”), a Schedule II narcotic drug

 8   controlled substance.

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 1                                     COUNT SIX

 2                         [18 U.S.C. § 924(c)(1)(A)(i)]

 3        On or about October 20, 2020, in Los Angeles County, within the

 4   Central District of California, defendant SEAN WOFFORD, also known as

 5   “dweb sean,” knowingly possessed firearms, namely, a Spike’s

 6   Tactical, model ST15, .223 caliber semi-automatic rifle, bearing

 7   serial number RM-32370; a .223 caliber semi-automatic rifle, with an

 8   unknown manufacturer, bearing no serial number (commonly referred to

 9   as a “ghost gun”); a Glock, model 17, 9mm semi-automatic pistol,

10   bearing serial number TKA678; and a Polymer 80, 9mm semi-automatic

11   pistol, bearing no serial number (commonly referred to as a “ghost

12   gun”), in furtherance of drug trafficking crimes, namely, possession

13   with intent to distribute methamphetamine, in violation of Title 21,

14   United States Code, Sections 841(a)(1), (b)(1)(a)(viii), as charged

15   in Count Three of this Indictment, possession with intent to

16   distribute cocaine, in violation of Title 21, United States Code,

17   Sections 841(a)(1), (b)(1)(C), as charged in Count Four of this

18   Indictment, and possession with intent to distribute fentanyl, in

19   violation of Title 21, United States Code, Sections 841(a)(1),

20   (b)(1)(C), as charged in Count Five of this Indictment.

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 1                           FORFEITURE ALLEGATION ONE

 2                                [21 U.S.C. § 853]

 3        1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 21,

 6   United States Code, Section 853 and Title 28, United States Code,

 7   Section 2461(c), in the event of defendant’s conviction of the

 8   offenses set forth in any of Counts One, Two, Three, Four, or Five of

 9   this Indictment.

10        2.    If so convicted, the defendant shall forfeit to the United

11   States of America the following:

12              (a)   All right, title, and interest in any and all

13   property, real or personal, constituting or derived from, any

14   proceeds which the defendant obtained, directly or indirectly, from

15   such offense;

16              (b)   All right, title, and interest in any and all

17   property, real or personal, used, or intended to be used, in any

18   manner or part, to commit, or to facilitate the commission of such

19   offense;

20              (c)   All right, title, and interest in any firearm or

21   ammunition involved in or used in such offense; and

22              (d)   To the extent such property is not available for

23   forfeiture, a sum of money equal to the total value of the property

24   described in subparagraphs (a), (b), and (c).

25        3.    Pursuant to Title 21, United States Code, Section 853(p),

26   if so convicted, defendant shall forfeit substitute property if, by

27   any act or omission of said defendant, the property described in the

28   preceding paragraph, or any portion thereof: (a) cannot be located
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 1   upon the exercise of due diligence; (b) has been transferred, sold

 2   to, or deposited with a third party; (c) has been placed beyond the

 3   jurisdiction of the court; (d) has been substantially diminished in

 4   value; or (e) has been commingled with other property that cannot be

 5   divided without difficulty.

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 1                              FORFEITURE ALLEGATION TWO

 2                 [18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c)]

 3        1.      Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 924(d)(1) and Title 28, United States

 7   Code, Section 2461(c), in the event of defendant’s conviction on

 8   Count Six of this Indictment.

 9        2.      If so convicted, the defendant shall forfeit to the United

10   States of America the following:

11                (a)   All right, title, and interest in any firearm involved

12   in or used in such offense, including but not limited to the

13   following:

14                      (i)   one Spike’s Tactical, model ST15, .223 caliber

15   semi-automatic rifle, bearing serial number RM-32370;

16                      (ii) one .223 caliber semi-automatic rifle, with an

17   unknown manufacturer, bearing no serial number (commonly referred to

18   as a “ghost gun”);

19                      (iii) one Glock, model 17, 9mm semi-automatic pistol,

20   bearing serial number TKA678; and

21                      (iv) one Polymer 80, 9mm semi-automatic pistol,

22   bearing no serial number (commonly referred to as a “ghost gun”), and

23                (b)   To the extent such property is not available for

24   forfeiture, a sum of money equal to the total value of the property

25   described in subparagraph (a).

26        3.      Pursuant to Title 21, United States Code, Section 853(p),

27   as incorporated by Title 28, United States Code, Section 2461(c), the

28   defendant, if so convicted, shall forfeit substitute property, up to
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 1   the value of the property described in the preceding paragraph if, as

 2   the result of any act or omission of the defendant, the property

 3   described in the preceding paragraph or any portion thereof

 4   (a) cannot be located upon the exercise of due diligence; (b) has

 5   been transferred, sold to, or deposited with a third party; (c) has

 6   been placed beyond the jurisdiction of the court; (d) has been

 7   substantially diminished in value; or (e) has been commingled with

 8   other property that cannot be divided without difficulty.

 9

10                                           A TRUE BILL
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12
                                                    /S/
                                             Foreperson
13

14   TRACY L. WILKISON
     United States Attorney
15

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17   SCOTT M. GARRINGER
     Assistant United States Attorney
18   Chief, Criminal Division

19   JOSHUA O. MAUSNER
     Assistant United States Attorney
20   Deputy Chief, General Crimes
     Section
21
     SUSAN S. HAR
22   Assistant United States Attorney
     Public Corruption and Civil
23   Rights Section

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